                Case 3:14-cv-04735-VC Document 54-1 Filed 03/01/18 Page 1 of 30




 1   Matthew Shayefar, Esq. (SBN 289685)
     Boston Law Group, PC
 2   925 N La Brea Ave
     West Hollywood, California 90038
 3   Tel: 617-928-1806
     Fax: 617-928-1802
 4   matt@bostonlawgroup.com

 5   Val Gurvits, Esq. (pro hac vice forthcoming)
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 6   825 Beacon Street, Suite 20
     Newton Centre, Massachusetts 02459
 7   Tel: 617-928-1804
     Fax: 617-928-1802
 8   vgurvits@bostonlawgroup.com

 9   Attorneys for Non-Parties Accuracy Consulting Ltd. and Bitseller Expert Limited

10
                                UNITED STATES DISTRICT COURT
11                            NORTHERN DISTRICT OF CALIFORNIA

12
      JOHN HUEBNER and IRMIN LANGTON, on                 Case No. 3:14-cv-04735-VC
13    behalf of themselves and other similarly situated,
                                                         [Assigned to the Honorable Vince
14       Plaintiffs,                                     Chhabria]

15    vs.                                               DECLARATION OF MATTHEW
                                                        SHAYEFAR IN SUPPORT OF
16    RADARIS, LLC, a Massachusetts limited             EMERGENCY MOTION FOR
      liability company;                                RELIEF FROM DEFAULT
17    RADARIS AMERICA, INC., a Delaware                 JUDGMENT
      corporation; and
18    EDGAR LOPIN, an individual,

19          Defendants.

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                Shayefar Declaration i/s/o Emergency Motion for Relief – 3:14-cv-04735-VC
              Case 3:14-cv-04735-VC Document 54-1 Filed 03/01/18 Page 2 of 30




 1                                    Declaration of Matthew Shayefar

 2   I, Matthew Shayefar, declare as follows:

 3          1.        My name is Matthew Shayefar. I am over the age of 18 years. I am an attorney

 4   licensed in the Commonwealth of Massachusetts, the State of California and the State of Florida.

 5   I am counsel to the named Accuracy Consulting Ltd. (“Accuracy”) and Bitseller Expert Limited

 6   (“Bitseller,” and together with Accuracy, “Movants”). I am familiar with the facts herein and

 7   make this declaration from my own personal knowledge.

 8          2.        On February 28, 2018, I emailed counsel for Plaintiffs in the above captioned case

 9   to inform them of Movants’ intent to seek emergency relief. A true and correct copy of my

10   email with Plaintiffs’ counsel is attached hereto as Exhibit 1. As of the execution of this

11   Declaration, Plaintiffs’ counsel have not responded to the email.

12          3.        On March 1, 2018, I accessed the website for the Commonwealth of

13   Massachusetts’ Secretary of the Commonwealth and used it to search for the public records of

14   Radaris, LLC. A true and correct copy of a Certificate of Cancellation for Radaris, LLC that I

15   accessed from the website is attached hereto as Exhibit 2.

16          4.        Attached hereto as Exhibit 3 is a true and correct copy of a screenshot that I took

17   of the archive of radaris.com/page/terms from October 22, 2014 from the Internet Archive’s

18   Wayback Machine.

19          5.        Attached hereto as Exhibit 4 is a true and correct printout of the website at

20   radaris.com/page/terms as I accessed it on February 26, 2018. By February 27, 2018, when I

21   went to the radaris.com website again, it began directing to another website appearing to be

22   operated by Plaintiffs.

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                                                      2
                 Shayefar Declaration i/s/o Emergency Motion for Relief – 3:14-cv-04735-VC
              Case 3:14-cv-04735-VC Document 54-1 Filed 03/01/18 Page 3 of 30




 1          6.        Attached hereto as Exhibit 5 is a true and correct copy of a screenshot that I took

 2   of the archive of radaris.com/page/terms from September 23, 2016 from the Internet Archive’s

 3   Wayback Machine.

 4          7.        Attached hereto as Exhibit 6 is a printout of the historical WhoIs information

 5   from the date September 30, 2014 for the domain name radaris.com that I obtained from

 6   DomainTools.com on February 28, 2018.

 7          8.        Attached hereto as Exhibit 7 is a printout of the historical WhoIs information

 8   from the date November 10, 2014 for the domain name radaris.com that I obtained from

 9   DomainTools.com on February 28, 2018.

10          9.        Attached hereto as Exhibit 8 is a printout of the historical WhoIs information

11   from the date September 14, 2016 for the domain name radaris.com that I obtained from

12   DomainTools.com on February 28, 2018.

13          10.       Attached hereto as Exhibit 9 is a printout of the historical WhoIs information

14   from the date February 19, 2018 for the domain name radaris.com that I obtained from

15   DomainTools.com on February 28, 2018.

16          I declare under penalty of perjury under the laws of the United States and the State of

17   California that the foregoing is true and correct.

18          Executed on March 1, 2018, in West Hollywood, California.

19

20                                                          /s/ Matthew Shayefar
                                                                Matthew Shayefar
21

22

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                                                      3
                 Shayefar Declaration i/s/o Emergency Motion for Relief – 3:14-cv-04735-VC
Case 3:14-cv-04735-VC Document 54-1 Filed 03/01/18 Page 4 of 30




                      Exhibit
                        1
                             Case 3:14-cv-04735-VC Document 54-1 Filed 03/01/18 Page 5 of 30

M a tth ew   S h a ye fa r




From:                                             Matthew Shayefar
Sent:                                             Wednesday, February 28, 2018 2:54 PM
To:                                               'justin@counselonegroup.com'; 'anthony@counselonegroup.com';
                                                  'alexandria@counselonegroup.com'
Cc:                                               Val Gurvits
Subject:                                          Emergency Motion in Huebner v. Radaris 3:14-cv-04735-VC



Dear Counsel,

We have been retained by Accuracy Consulting Ltd. and Bitseller Expert Limited in connection with the
radaris.com domain name and website.

As you are certainly aware, Accuracy Consulting Ltd. was the domain name registrant for the radaris.com
domain name and Bitseller Expert Limited was the operator of the website at radaris.com until recently when
the domain name and website were transferred to your control pursuant to the default judgment received in
Huebner v. Radaris LLC et al., Case No. 3:14-cv-04735-VC, pending in the United States District Court for the
Northern District of California. As you further know, the domain name and website were taken out of their
control just earlier this week.

Because our clients were never named as parties to the litigation, and were never served in the litigation, the
taking of their property without due process is a violation of their rights. Furthermore, the taking of their
property has caused them substantial damage which grows on a minute by minute basis.

Accordingly, unless otherwise resolved, we will be moving on an emergency basis for relief from the default
judgment order. We are hereby providing you notice out our intent to seek emergency relief pursuant to Judge
Chhabria’s Standing Order for Civil Cases.

We are certain, and the written record will show, that Plaintiffs have improperly withheld from and
misrepresented to the Court important information about the proper owner and operator of radaris.com in
violation of their Rule 11 obligations. We therefore demand that you immediately transfer the radaris.com
domain name back to Accuracy Consulting Ltd.’s domain name account with euroDNS, from where you
fraudulently transferred it through abuse of legal process.

Will you consent to the immediate return of the domain name and website?

Your prompt response to this email is appreciated.

Very truly yours,

Matthew Shayefar

Boston Law Group, PC
825 Beacon Street, Suite 20 | Newton Centre, MA 02459
Direct: (617) 928-1806 | Tel: (617) 928-1800 | Fax: (617) 928-1802
matt@bostonlawgroup.com
---------------------------------------------------------------------------
The contents of this message and any attachments are confidential and intended only for the addressee(s). This message may also be subject to attorney-client privilege. If you
received this message in error, please notify Boston Law Group, PC immediately and destroy the original message. Boston Law Group, PC | Tel: (617) 928-1800 | E-
mail: info@bostonlawgroup.com
In compliance with IRS regulations, we advise you that any discussion of Federal tax issues is not intended or written to be used, and may not be used, by you to avoid any
penalties imposed under the Internal Revenue Code or to promote, market or recommend to another party any transaction or matter addressed.
                                                                                        1
Case 3:14-cv-04735-VC Document 54-1 Filed 03/01/18 Page 6 of 30




                      Exhibit
                        2
             Case 3:14-cv-04735-VC Document 54-1 Filed 03/01/18 Page 7 of 30
         MA SOC Filing Number: 201358864760 Date: 12/12/2013 3:10:00 PM




                                 The Commonwealth of Massachusetts                                Minimum Fee: $100.00
                                       William Francis Galvin
                                Secretary of the Commonwealth, Corporations Division
                                           One Ashburton Place, 17th floor
                                               Boston, MA 02108-1512                           Special Filing Instructions

                                              Telephone: (617) 727-9640

Certificate of Cancellation
(General Laws, Chapter )

Federal Employer Identification Number: 001050861 (must be 9 digits)

1. The exact name of the Domestic Limited Liability Company (LLC) is: RADARIS, LLC

2. The date of filing of the original certificate of organization:   4/13/2011

3. The reason for filing the certificate of cancellation:
ENTITY WAS NOT ABLE TO SECURE AND PROVIDE PUBLIC RELATIONS AND MARKETING SERVICES OBJEC
TIVES AS INITIALLY SET AT ORGANIZATION. NO FUNDING.

4. If the certificate of cancellation is to be effective at a later date, state the effective date:

5. Any additional information to be included therein:

SIGNED UNDER THE PENALTIES OF PERJURY, this 12 Day of December, 2013,
EDGAR LOPIN , Signature of Applicant.



 © 2001 - 2013 Commonwealth of Massachusetts
 All Rights Reserved
    Case 3:14-cv-04735-VC Document 54-1 Filed 03/01/18 Page 8 of 30
MA SOC Filing Number: 201358864760 Date: 12/12/2013 3:10:00 PM




              THE COMMONWEALTH OF MASSACHUSETTS



 I hereby certify that, upon examination of this document, duly submitted to me, it appears

 that the provisions of the General Laws relative to corporations have been complied with,

  and I hereby approve said articles; and the filing fee having been paid, said articles are

                          deemed to have been filed with me on:

                                 December 12, 2013 03:10 PM




                              WILLIAM FRANCIS GALVIN

                              Secretary of the Commonwealth
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                      Exhibit
                        3
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Case 3:14-cv-04735-VC Document 54-1 Filed 03/01/18 Page 11 of 30




                       Exhibit
                         4
2/26/2018              Case 3:14-cv-04735-VC Document
                                                  Radaris54-1
                                                          Terms ofFiled
                                                                   Service03/01/18 Page 12 of 30




  Terms and Conditions of Service

  Radaris provides the Radaris websites to you ("You" or "Your") subject to these Consumer Terms and Conditions of Service
  ("Terms") and subject to other Radaris policies, including our Payment and Refund Policy, Cancellation Policy, Privacy Policy
  and Cookie Policy, incorporated herein by reference.

  By accessing and using these sites, you accept these Terms even if You do not create an Account with the Radaris sites. You
  represent and warrant that You are at least 18 years of age and of legal competence to enter into this agreement.

  Radaris may change these Terms at any time, including by adding new provisions or removing existing provisions, except as
  otherwise provided in these Terms. The most current version of these Terms can be accessed https://radaris.com/page/terms.
  By continuing to access or use the Radaris sites, You accept any changes or revisions to the Terms.

  IF YOU DO NOT AGREE TO ALL OF THESE TERMS DO NOT USE THE Radaris SITES

  ACCESS TO THE SITES: Upon your acceptance of these terms and conditions, Radaris hereby grants you a revocable, non-
  exclusive, non-transferable, and limited license to access the Sites and the Data, solely for the purpose of identity verification
  and/or fraud prevention for individual business use in the United States only. In exchange for the foregoing, you agree to pay
  the fees set forth under each product. In consideration of your access to the Data, you represent that you are of legal age to
  form a binding contract and are not a person barred from receiving our services under the laws of the United States or any
  other applicable jurisdiction.

  OWNERSHIP OF DATA: You agree and acknowledge that the Data is and remains the property of Radaris or its data
  providers. You understand that you do not have nor will you acquire any ownership interest in the Sites or Data. You have no
  right to sell, resell, license, rent, transfer, or otherwise provide any of the Data to any other party. You shall not combine all or
  any portion of any Data with any other service, data, or database created or maintained by you. The Data obtained from any
  query of the Sites may only be used one-time by you. You shall not cache the Data. You shall not disassemble, decompile, or
  in any way reverse engineer the Sites or Data in any way.

  RESTRICTIONS ON USE OF DATA: You agree to use the Data for appropriate, legal purposes and in compliance with all
  application federal, state and local laws and regulations and for no marketing purposes; you have obtained all necessary
  licenses, certificates, permits, approvals or other authorizations required by law, statute or regulation; you will not use a bot
  program or other automated/data extraction programs to access the Data; and you will use best commercial efforts to insure
  that the data is received and stored in a secure manner. Furthermore, you agree that the Data will not be used to: seek
  information about a minor or public figure; cause physical or emotional harm or injury against any group or individual; stalk or
  otherwise harass another person; or promote any illegal activities.

  FCRA RESTRICTIONS ON USE OF DATA: You understand that Radaris is not a "Consumer Reporting Agency" (as that term
  is defined by the Fair Credit Reporting Act ("FCRA")), and you agree that you will not use the Sites or Data for any purpose
  enumerated by the FCRA. You shall not use the Sites or Data for the purpose of serving as a factor in: (a) establishing an
  individual's eligibility for personal credit or insurance or assessing risks associated with existing credit obligations, (b)
  evaluating an individual for employment purposes, (c) for determination of an individual's eligibility for a license or other
  benefit that depends on an applicant's financial responsibility or status, or (d) in connection with any other personal business
  transaction with an individual. You agree not to use any of the Data in the preparation of a "Consumer Report" (as that term is
  defined by the FCRA) or in such a manner that may cause such Data to be characterized as a Consumer Report. No
  "Adverse Action" (as that term is defined by the FCRA) may be taken against any "Consumer" (as that term is defined by the
  FCRA), which is based in whole or in part on the Data. Before taking any Adverse Action based on this Data, the Data must
  be re- verified by an additional, independent source.

  MISUSE OF DATA: Radaris reserves the right, in its sole discretion, to immediately and without notice suspend your access
  to the Sites if Radaris suspects that: (a) you are abusing or misusing the Sites or Data, (b) you have violated this agreement
  or any applicable law, or (c) an actual or threatened breach of security jeopardizes the safety, confidentiality and/or integrity of
  the Sites or Data.

  SEARCH LOGS: You agree that Radaris can log all of your searches of the Sites. Such search logs may be provided in
  response to a lawful governmental process or request (e.g. subpoena or warrant), in order to respond to an audit of Radaris,
  to respond to or investigate a consumer complaint, or as part of an investigation into a possible impermissible use of the Data.
  You further agree to fully cooperate with an audit of our customers.
https://radaris.com/page/terms                                                                                                            1/4
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  PAYMENT AND REFUND POLICY: You agree to pay Radaris for Data as set forth in the fee disclosures on the Radaris
  website. These fees may be changed, from time to time and Radaris shall post all such changes on its website. Customer
  shall pay for access to the Sites and Data and services in advance. Radaris reserves the right to terminate this agreement
  upon email notice sent by Radaris. All prices are in US Dollars and do not include internet service provider, telephone, or any
  other connection charges. Radaris does not refund purchases or membership charges.

  Service Fees: Radaris is available for a one-time license fee. If you are not satisfied with your purchase, please contact us
  within 30 (thirty) days from the original date of purchase to discuss your concerns. If we cannot resolve your concerns, we
  may provide you with another report, at no additional cost to you. Radaris does not refund purchases.

  Introductory Offers:

  Radaris may provide You with the opportunity to try out a specific product or membership plan on a free, introductory trial
  basis. The terms of any such trial shall be fully disclosed prior to purchase. You are responsible for reviewing such terms prior
  to accepting any trial. The length of a trial may vary and You agree that if Your trial remains uncancelled (by You) after
  expiration, then the trial shall convert to an ongoing subscription in accordance with the terms of that particular trial.

  If you wish to cancel your trial before it converts to an ongoing subscription, you may do so online by selecting "Membership"
  from the profile icon or by contacting the Radaris Customer Service department at (855) 723-2747 during business hours. All
  cancellations of trial products or membership plans must be received prior to 11:59 PM ET on the last day of the trial in order
  to avoid conversion to an ongoing subscription (and any associated charges). Radaris does not refund purchases or
  membership charges.

  Premium Services:

  a) Some products and services on Radaris sites are only available to purchasers of premium content. Radaris offers a variety
  of content purchase options, including individual report purchases and membership plans. Details about the specific premium
  content offering and payment terms are provided at sign up. By purchasing premium content or a membership plan, You
  agree to receive the services offered at sign up, subject to the billing terms provided at sign up. Unused searches do not
  rollover from one billing period to the next.

  b) All sales of all premium content on Radaris sites are final. All membership plans are prepaid for the stated payment period
  (monthly, quarterly, semi-annually, and annually) and are non-refundable.

  c) Unless otherwise indicated in Your Plan details, Radaris will automatically renew Your membership plan at the same
  payment period and term, and charge Your credit card or Paypal account at the beginning of each payment period. Your
  membership plan will remain open and active until Your account is canceled, suspended, or terminated.

  CANCELLATION POLICY: You may cancel Your membership plan at any time and for any reason. To cancel online, select
  "Membership" from the profile icon or by contacting the Radaris Customer Service department at (855) 723-2747 during
  business hours. All cancellations of trial products or membership plans must be received prior to 11:59 PM ET on the last day
  of the trial in order to avoid conversion to an ongoing subscription (and associated charges). Radaris does not refund
  purchases or membership charges.

  Once Your membership plan has been canceled, You will receive a cancellation confirmation from Radaris, and You will not
  be billed again. When You cancel Your plan, any processed payment will not be refunded or prorated for partial-month usage.
  You will continue to enjoy all premium content and benefits until the end of the current payment period. If You encounter any
  problem during the cancellation process, please contact the Radaris Customer Service department at (855) 723-2747 during
  business hours.

  When you cancel automatic renewal on a membership, your membership will continue through the rest of the current month.
  At the end of that period, your membership will not renew automatically, and you will lose the benefits of membership.

  TERM: The initial term of this Agreement shall commence upon the date you accept the terms of this Agreement and shall
  continue in full force and effect for a period of one year. Radaris reserves the right to terminate this agreement upon email
  notice sent by Radaris. In the event of termination, you agree to immediately destroy the Data, including all copies. The terms
  and conditions of this Agreement shall remain in full force so long as you retain any Data.

  INFORMATION USE, SHARING AND DISCLOSURE: We do not share or disclose your registration information. By entering
  your email, you agree to receive occasional communications from Radaris. The email information you enter will remain
  private.

https://radaris.com/page/terms                                                                                                      2/4
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  Radaris may use a Profile owner's email address to send updates, account notifications, newsletters or news regarding the
  service. Profile owners may specify the types of emails that they wish to receive under their notification settings "Unsubscribe
  from our newsletters" in the user "Settings".

  To understand how other information is stored and used, please read our full Privacy Policy.

  DISCLAIMERS: Radaris and its data providers make every reasonable effort to ensure that the Sites and the Data are an
  accurate reflection of the information received from its originating source. However, neither Radaris, nor its data providers can
  or does represent or warrant that the Sites or Data will be complete or accurate. This data is provided "as is". Neither Radaris,
  nor its data providers shall be responsible or liable for any inaccuracy in the Sites or the Data, or for interruption in service
  caused by the failure of the Internet or the World Wide Web, by any Act of God, or by any other force majeure.

  Radaris AND ITS DATA PROVIDERS DISCLAIM ALL WARRANTIES, EXPRESS OR IMPLIED, INCLUDING, BUT NOT
  LIMITED TO, WARRANTIES OF CORRECTNESS, COMPLETENESS, ACCURACY, MERCHANTABILITY OR FITNESS
  FOR A PARTICULAR PURPOSE. UNDER NO CIRCUMSTANCES SHALL Radaris OR ITS DATA PROVIDERS BE LIABLE
  FOR ANY DAMAGES, INCLUDING, WITHOUT LIMITATION, DIRECT, CONSEQUENTIAL, INCIDENTAL, INDIRECT,
  EXEMPLARY OR SPECIAL DAMAGES, INCLUDING LOST PROFITS, EVEN IF WE HAVE BEEN MADE AWARE OF THE
  POTENTIAL FOR SUCH DAMAGES.

  INDEMNIFICATION: You agree to indemnify and hold harmless, Radaris, and its data providers from and against any claim
  made by any third-party that may arise from your use or misuse of the Sites or Data.

  OPERATING COMPANY: Radaris is operated by Bitseller Expert LIMITED, Nicosia Cyprus.

  Public Relations Agency: Radaris has a public relations agency located in the US. All public relations inquires should be sent
  to Radaris America, Inc, 831 Beacon Street, Ste. 129, Newton Center, MA 02459 USA.

  These Terms were last updated on January 12, 2017




  Mobile Apps
  Radar Your Info
  Control Your Info
  People Directory
  All Services
  About
  Terms of Service
  Cancellation Policy
  Privacy Policy
  Contact




https://radaris.com/page/terms                                                                                                       3/4
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  Affiliate Program
  Regional Sites


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https://radaris.com/page/terms                                                                                  4/4
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                       Exhibit
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                      Whois_History-radaris.com-2014-09-30.txt
Domain: radaris.com
Record Date: 2014-09-30
Registrar: GODADDY.COM, LLC
Server: whois.godaddy.com
Created: 2009-07-30
Updated: 2014-06-16
Expires: 2022-07-30

Record:
Domain Name: RADARIS.COM
Registry Domain ID: 1564046797_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.godaddy.com
Registrar URL: http://www.godaddy.com
Update Date: 2013-04-04 15:44:33
Creation Date: 2009-07-30 11:13:08
Registrar Registration Expiration Date: 2022-07-30 11:13:08
Registrar: GoDaddy.com, LLC
Registrar IANA ID: 146
Registrar Abuse Contact Email: abuse@godaddy.com
Registrar Abuse Contact Phone: +1.480-624-2505
Domain Status: clientTransferProhibited
Domain Status: clientUpdateProhibited
Domain Status: clientRenewProhibited
Domain Status: clientDeleteProhibited
Registry Registrant ID:
Registrant Name: Tim Ostertag
Registrant Organization: ACCURACY CONSULTING LTD.
Registrant Street: PO Box 3469
Registrant Street: Geneva Place, Waterfront Drive
Registrant City: Road Town
Registrant State/Province: Tortola
Registrant Postal Code: Tortola
Registrant Country: Virgin Islands (British)
Registrant Phone: +44.2035145353
Registrant Phone Ext:
Registrant Fax:
Registrant Fax Ext:
Registrant Email: webmaster-dept@radaris.com
Registry Admin ID:
Admin Name: Tim Ostertag
Admin Organization: ACCURACY CONSULTING LTD.
Admin Street: PO Box 3469
Admin Street: Geneva Place, Waterfront Drive
Admin City: Road Town
Admin State/Province: Tortola
Admin Postal Code: Tortola
Admin Country: Virgin Islands (British)
Admin Phone: +44.2035145353
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                      Whois_History-radaris.com-2014-09-30.txt
Admin Phone Ext:
Admin Fax:
Admin Fax Ext:
Admin Email: webmaster-dept@radaris.com
Registry Tech ID:
Tech Name: Tim Ostertag
Tech Organization: ACCURACY CONSULTING LTD.
Tech Street: PO Box 3469
Tech Street: Geneva Place, Waterfront Drive
Tech City: Road Town
Tech State/Province: Tortola
Tech Postal Code: Tortola
Tech Country: Virgin Islands (British)
Tech Phone: +44.2035145353
Tech Phone Ext:
Tech Fax:
Tech Fax Ext:
Tech Email: webmaster-dept@radaris.com
Name Server: NS1.RADARIS.COM
Name Server: NS2.RADARIS.COM
DNSSEC: unsigned
URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/




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                      Whois_History-radaris.com-2014-11-10.txt
Domain: radaris.com
Record Date: 2014-11-10
Registrar: GODADDY.COM, LLC
Server: whois.godaddy.com
Created: 2009-07-30
Updated: 2014-06-16
Expires: 2022-07-30

Record:
Domain Name: RADARIS.COM
Registry Domain ID: 1564046797_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.godaddy.com
Registrar URL: http://www.godaddy.com
Update Date: 2013-04-04 15:44:33
Creation Date: 2009-07-30 11:13:08
Registrar Registration Expiration Date: 2022-07-30 11:13:08
Registrar: GoDaddy.com, LLC
Registrar IANA ID: 146
Registrar Abuse Contact Email: abuse@godaddy.com
Registrar Abuse Contact Phone: +1.480-624-2505
Domain Status: clientTransferProhibited
Domain Status: clientUpdateProhibited
Domain Status: clientRenewProhibited
Domain Status: clientDeleteProhibited
Registry Registrant ID:
Registrant Name: Tim Ostertag
Registrant Organization: ACCURACY CONSULTING LTD.
Registrant Street: PO Box 3469
Registrant Street: Geneva Place, Waterfront Drive
Registrant City: Road Town
Registrant State/Province: Tortola
Registrant Postal Code: Tortola
Registrant Country: Virgin Islands (British)
Registrant Phone: +44.2035145353
Registrant Phone Ext:
Registrant Fax:
Registrant Fax Ext:
Registrant Email: webmaster-dept@radaris.com
Registry Admin ID:
Admin Name: Tim Ostertag
Admin Organization: ACCURACY CONSULTING LTD.
Admin Street: PO Box 3469
Admin Street: Geneva Place, Waterfront Drive
Admin City: Road Town
Admin State/Province: Tortola
Admin Postal Code: Tortola
Admin Country: Virgin Islands (British)
Admin Phone: +44.2035145353
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                      Whois_History-radaris.com-2014-11-10.txt
Admin Phone Ext:
Admin Fax:
Admin Fax Ext:
Admin Email: webmaster-dept@radaris.com
Registry Tech ID:
Tech Name: Tim Ostertag
Tech Organization: ACCURACY CONSULTING LTD.
Tech Street: PO Box 3469
Tech Street: Geneva Place, Waterfront Drive
Tech City: Road Town
Tech State/Province: Tortola
Tech Postal Code: Tortola
Tech Country: Virgin Islands (British)
Tech Phone: +44.2035145353
Tech Phone Ext:
Tech Fax:
Tech Fax Ext:
Tech Email: webmaster-dept@radaris.com
Name Server: NS1.RADARIS.COM
Name Server: NS2.RADARIS.COM
DNSSEC: unsigned
URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/




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                       Exhibit
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                       Whois_History-radaris.com-2016-09-14.txt
Domain: radaris.com
Record Date: 2016-09-14
Registrar: EURODNS S.A
Server: whois.eurodns.com
Created: 2009-07-30
Updated: 2015-12-08
Expires: 2023-07-30

Record:
Domain Name: RADARIS.COM
Registry Domain ID: D14324302-COM
Registrar WHOIS Server: whois.eurodns.com
Registrar URL: http://www.eurodns.com
Updated Date: 2015-12-08T16:39:18Z
Creation Date: 2009-07-30T00:00:00Z
Registrar Registration Expiration Date: 2023-07-29T00:00:00Z
Registrar: Eurodns S.A.
Registrar IANA ID: 1052
Registrar Abuse Contact Email: legalservices[at]eurodns.com
Registrar Abuse Contact Phone: +352.27220150
Domain Status: clientTransferProhibited
Registry Registrant ID:
Registrant Name: Ostertag Tim
Registrant Organization: ACCURACY CONSULTING LTD.
Registrant Street: 6 Agias Elenis, Agios Dometios
Registrant City: Nicosia
Registrant State/Province:
Registrant Postal Code: 2363
Registrant Country: CY
Registrant Phone: +44.2035145353
Registrant Fax:
Registrant Email: webmaster-dept@radaris.com
Registry Admin ID:
Admin Name: Ostertag Tim
Admin Organization: ACCURACY CONSULTING LTD.
Admin Street: 6 Agias Elenis, Agios Dometios
Admin City: Nicosia
Admin State/Province:
Admin Postal Code: 2363
Admin Country: CY
Admin Phone: +44.2035145353
Admin Fax:
Admin Email: webmaster-dept@radaris.com
Registry Tech ID:
Tech Name: Ostertag Tim
Tech Organization: ACCURACY CONSULTING LTD.
Tech Street: 6 Agias Elenis, Agios Dometios
Tech City: Nicosia
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                       Whois_History-radaris.com-2016-09-14.txt
Tech State/Province:
Tech Postal Code: 2363
Tech Country: CY
Tech Phone: +44.2035145353
Tech Fax:
Tech Email: webmaster-dept@radaris.com
Name Server: ns-1186.awsdns-20.org
Name Server: ns-60.awsdns-07.com
Name Server: ns-957.awsdns-55.net
DNSSEC: unsigned
ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/

Please email the listed admin email address if you wish to raise a legal issue.




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                       Exhibit
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                       Whois_History-radaris.com-2018-02-19.txt
Domain: radaris.com
Record Date: 2018-02-19
Registrar: EuroDNS S.A
Server: whois.eurodns.com
Created: 2009-07-30
Updated: 2017-04-24
Expires: 2023-07-30

Record:
Domain Name: RADARIS.COM
Registry Domain ID: D14324302-COM
Registrar WHOIS Server: whois.eurodns.com
Registrar URL: http://www.eurodns.com
Updated Date: 2015-12-08T16:39:18Z
Creation Date: 2009-07-30T00:00:00Z
Registrar Registration Expiration Date: 2023-07-29T00:00:00Z
Registrar: Eurodns S.A.
Registrar IANA ID: 1052
Registrar Abuse Contact Email: legalservices[at]eurodns.com
Registrar Abuse Contact Phone: +352.27220150
Domain Status: clientTransferProhibited
Registry Registrant ID:
Registrant Name: Ostertag Tim
Registrant Organization: ACCURACY CONSULTING LTD.
Registrant Street: 6 Agias Elenis, Agios Dometios
Registrant City: Nicosia
Registrant State/Province:
Registrant Postal Code: 2363
Registrant Country: CY
Registrant Phone: +44.2035145353
Registrant Fax:
Registrant Email: webmaster-dept@radaris.com
Registry Admin ID:
Admin Name: Ostertag Tim
Admin Organization: ACCURACY CONSULTING LTD.
Admin Street: 6 Agias Elenis, Agios Dometios
Admin City: Nicosia
Admin State/Province:
Admin Postal Code: 2363
Admin Country: CY
Admin Phone: +44.2035145353
Admin Fax:
Admin Email: webmaster-dept@radaris.com
Registry Tech ID:
Tech Name: Ostertag Tim
Tech Organization: ACCURACY CONSULTING LTD.
Tech Street: 6 Agias Elenis, Agios Dometios
Tech City: Nicosia
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                       Whois_History-radaris.com-2018-02-19.txt
Tech State/Province:
Tech Postal Code: 2363
Tech Country: CY
Tech Phone: +44.2035145353
Tech Fax:
Tech Email: webmaster-dept@radaris.com
Name Server: ns-1186.awsdns-20.org
Name Server: ns-60.awsdns-07.com
Name Server: ns-957.awsdns-55.net
DNSSEC: unsigned
ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/

Please email the listed admin email address if you wish to raise a legal issue.




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